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 9                            UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
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     JOANNE EGROVICH, an individual,            Case No. 3:21-CV-00774-TWR(MDD)
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14               Plaintiff,                     FULL SATISFACTION OF
                                                JUDGMENT
15         vs
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     CCFG COSTEBELLE LA JOLLA, LLC,
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     a California limited liability company;
18   ALAN LEWIS, an individual; CRAIG
19   CECILIO, an individual; DOES 1
     through 25,
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21               Defendants.
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                                FULL SATISFACTION OF JUDGMENT
 1          WHEREAS, a judgment was entered in the above action on the 21st day of
 2   March, 2022 in favor of Plaintiff, Joanne Egrovich (“Plaintiff”), and against
 3   Defendants, Alan Lewis and Craig Cecilio (together “Defendants”), jointly and
 4   severally, in the principal amount of $765,000;
 5          WHEREAS, the Court ordered costs in the amount of $785 be added to
 6   Plaintiff’s judgment against Defendants;
 7          WHEREAS, the parties stipulated to a total of $56,215 be added to the
 8   judgment as representative of the full amount of attorneys’ fees incurred by Plaintiff
 9   in this action;
10          WHEREAS, the total amount owed by Defendants to Plaintiff per the
11   judgment is $822,000;
12          WHEREAS, said judgment with all costs and stipulated fees has been paid
13   by Defendants to Plaintiff in full, and it is certified that there are no outstanding
14   executions with any Sheriff or Marshall,
15          THEREFORE, full and complete satisfaction of said judgment is hereby
16   acknowledged, and the Clerk of the Court is hereby authorized and directed to make
17   an entry of the full and complete satisfaction on the docket of said judgment.
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19   Dated: May 2, 2022               LAW OFFICES OF DAVID N. LAKE APC
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                                      /s David N. Lake______________
22                                    David N. Lake
23                                    Attorneys for Plaintiff, Joanne Egrovich
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                              FULL SATISFACTION OF JUDGMENT
                                             1                                   21CV00774
